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IN THE UNITED sTATEs DISTRICT cotm'r t __
FoR THE wEsTERN DISTRICT oF TENNESSEE¢».‘§.L`, §§ ;:-_;F la
wEsTERN DIvIsIoN "

 

THOMAS WESLEY SCRUGGS,

Plaintiff,

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vs. ) No. 03-2518

THE BOARD OF EDUCATION OF THE
MEMPHIS CITY SCHOOLS; JOHNNIE
WATSON; and BOB ARCHER

Defendants.

 

ORDER GRANTING SUMMARY JUDGMENT FOR THE DEFENDANTS

 

The plaintiff, Thomas Wesley Scruggs sued the Board of
Education of the Memphis City Schools, Johnnie Watson, and Bob
Archer (collectively “Memphis City Schools”) in a six-count
complaint alleging breach of contract, retaliatory discharge,
violations of 42 U.S.C § 1983, violations of the Americans with
Disabilities Act (“ADA”), violations of the Age Discrimination in
Employment Act (“ADEA”), and intentional infliction of emotional
distress. The parties have consented to trial before the United
States Magistrate Judge pursuant to 28 U-S.C- § 636(¢)- Now before
the court is a motion filed by the Memphis City Schools for summary
judgment on all counts. For the reasons that follow, the Memphis

City Schools' motion for summary judgment is granted.

  

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UNDISPUTED FACTS

For the purposes of this motion, the court finds that the
following facts are undisputed:

1. Scruggs was employed by the Board of Education of the
Memphis City Schools as a teacher and football coach at Lester
Elementary Sohool beginning in the fall of 1970. From that time
until 0ctober of 2001, Scruggs served in a variety of teaching
positions throughout the Memphis City Sohool system.

2. Scruggs was employed by the Memphis City Schools as a
principal at Oakhaven High Sohool in 1998 and served in this
position until October 2001.

3. In October of 2001, Soruggs applied for and was approved
for both disability and sick leave pursuant to the terms and
conditions of the Agreement Between the Board of Education of the
Memphis City Schools and the Memphis Education Association (“MEA
Agreement”) due to existing medical conditions, which included
circulatory problems, high blood pressure, high cholesterol,
hypertension, and stress. The terms of Scruggs' sick leave and his

subsequent assignment were governed by this collective bargaining
agreement.

4. On April 5, 2002, Scruggs extended his sick leave until
0ctober 15, 2002, at which time his sick leave expired.

5. On or about mid-June 2002, Robert Archer, the Associate

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Superintendent for the Board of Education, contacted Scruggs to
inquire as to whether Scruggs would be returning to his position as
principal of Oakhaven High Sohool on July l, 2002. Scruggs
informed Archer that he would return to his position after
receiving a release from his physician. Scruggs' physician
approved his return to work on September 10, 2002.

6. Scruggs presented Memphis City Schools a letter from his
physician on or about September 10, 2002 releasing him to return to
work. At that time, Scruggs had a meeting with Robert Mathes in
Human Resources at the Board of Education regarding an assignment
for 2002.

7. Memphis City Sohools subsequently offered Scruggs a
position as an assistant principal at Central High Sohool and a
teaching position at White Station High School. Scruggs' salary
was to be frozen for one year at its previous level regardless of
the position taken.

8. Scruggs declined the positions that were offered to him
and resigned from his employment with the Board of Education on
September 15, 2002.

9. On September 23, 2002, Scruggs filed a charge with the
Equal Employment Opportunity Commission (“EEOC”) alleging that he
was discriminated against because of a disability. The EEOC

dismissed the charge finding that Soruggs failed. to allege a

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disability under the ADA.

10. Memphis City Schools appointed Marion Brewer to be the
principal of Oakhaven High Sohool for the 2002 school year prior to
time Scruggs was released to return to work. Brewer was 59 years
old at the time of her appointment.

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I. Summary Judgment Standard

Under Fed.R.Civ.P. 56(c), summary judgment is proper “if the
pleadings, depositions, answers to interrogatories, and admissions
on file, together with the affidavits, if any, show that there is
no genuine issue as to any material fact and that the moving party
is entitled to a judgment as a matter of law.” LaPointe v. United
Autoworksrs Local 600, 8 F.3d 376, 378 (6th Cir. 1993); Osborn v.
Ashland County Bd. of Aloohol, Drug Addiction and Mental Health
Servs., 979 F.2d 1131, 1133 (6th Cir. 1992)(per curiam). The party
that moves for summary judgment has the burden of showing that
there are no genuine issues of material fact at issue in the case.
LaPointe, 8 F.3d at 378. This may be accomplished by pointing out
to the court that the nonmoving party lacks evidence to support an
essential element of its case. Barnhart v. Pickrel, Schaeffer &
Ebeling Co., 12 F.3d 1382, 1389 (6th Cir. 1993).

In response, the nonmoving party must present “significant

probative evidence" to demonstrate that “there is {more than] some

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metaphysical doubt as to the material facts.” Moore v. Philip
Morris Co., 8 F.3d 335, 339-40 (6th Cir. 1993). “[T]he mere
existence of some alleged factual dispute between the parties will
not defeat an otherwise properly supported motion for summary
judgment; the requirement is that there be no genuine issue of
material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
247-48 (1986) .

In deciding a motion for summary judgment, “this court must
determine whether ‘the evidence presents a sufficient disagreement
to require submission to a jury or whether it is so one-sided that
one party must prevail as a matter of law.'” Patton v. Bearden, 8
F.3d 343, 346 (6th Cir. 1993)(quoting Anderson, 477 U.S. at
251-53). The evidence, all facts, and any inferences that may
permissibly be drawn from the facts must be viewed in the light
most favorable to the nonmoving party. Matsushita Elec. Indus. Co.
v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). However, “[t]he
mere existence of a scintilla of evidence in support of the
plaintiff's position will be insufficient; there must be evidence
on which the jury could reasonably find for the plaintiff.”
Anderson, 477 U.S. at 252. Finally, a district court considering
a notion for summary judgment may not weigh evidence or make
credibility determinations. Adams va Metiva, 31 F.3d 375, 378 (6th

Cir. 1994) .

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II. Retaliatory Discharge !Count Two!

Memphis City Schools contend that it is entitled to summary
judgment on Scruggs’ retaliatory discharge clainl because (1)
Scruggs failed to raise a claim based on retaliatory discharge in
his administrative charge filed with the EEOC, and (2) because
Scruggs failed to establish a prima facie case of retaliation.
Scruggs did not respond to these contentions.

“It is well settled that federal courts do not have subject
matter jurisdiction to hear Title VII claims unless the claimant
explicitly files the claim in an EEOC charge or the claim can be
reasonably expected to grow out of the EEOC charge.” Strouss v.
Mich. Dep’t of Corr., 250 F.3d 336, 342 (6th Cir. 2001).
Retaliation claims based on conduct that occurred before the filing
of the EEOC charge must be included in that charge. Ang v. Procter
& Gamble Co., 932 F.2d 540, 547 (6th Cir. 1991). Here, Scruggs
failed to include claims of retaliation in his EEOC charge.
Accordingly, this court does not have subject matter jurisdiction
to hear Scruggs' claim for retaliatory discharge.

Assuming the court had jurisdiction to hear this claim,
summary judgment would still be proper. Claims of retaliatory
discharge are generally subject to the same analysis as claims
brought under Title VII of the Civil Rights Act of 1964, as

amended. Mitchell v. Toledo Hbsp., 964 F.2d 577, 582 (6th Cir.

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1992) (citing Patterson v. .McLean Credit Union, 491 U.S. 164
(1989)). Thus, the evidentiary framework enunciated by the Supreme
Court in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1972) and
Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248 (1981)
applies to claims for retaliatory discharge.

There are three basic steps in the McDonnell Douglas/Burdine
analysis. First, the plaintiff must establish a prima facie case
of discrimination. If the plaintiff does so, then the burden of
production shifts to the defendant to demonstrate that there were
legitimate, non-discriminatory reasons for the actions of which
plaintiff complains. Finally, if the defendant produces such
evidence, the burden of production shifts back to the plaintiff,
who must demonstrate that the reasons offered are merely
pretextual, and are not the true reasons for the actions taken. At
all times, the ultimate burden of persuasion lies with the
plaintiff. St. Mary’s anor Ctr. v. Hicks, 509 U.S. 502, 507
(1993).

To establish a prima facie case of retaliation, the plaintiff
must show: (1) that he engaged in a protected activitY; (2) that
the defendant knew of the exercise of the protected activity; (3)
that the defendant took an employment action that was adverse to
the plaintiff; and (4) that there existed a causal connection

between the protected activity and the adverse employment action.

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See E.E.O.C. v. Avery Denison Corp., 104 F.3d 858, 860 (6th Cir.
1997) (citing Wrenn v. Gould, 808 F.2d 493, 500 (6th Cir. 1997)).

In this case, Scruggs fails to allege that he was engaged in
a protected activity for which Memphis City Schools retaliated
against him. Instead, Scruggs bases his claim on the fact that he
and Robert Archer had philosophical differences concerning the
appropriate type of curriculunl that should. be taught in high
schools. Having a difference of opinion regarding high school
curriculum does not qualify as a protected activity. Thus, Scruggs
has failed to establish a prima facie case of retaliation.
Accordingly, Memphis City Schools' motion for summary judgment on
Scruggs' claim for retaliatory discharge is granted.
III. 42 U.S.C. § 1983 (Count Threel

Scruggs also alleges violations of procedural due process
under 42 U.S.C. § 1983. He contends that Memphis City Schools
deprived him of his position as principal of Oakhaven High Sohool
without cause and. without due process. Memphis City Schools
insists that it is entitled to summary judgment on Scruggs' due
process claim because Scruggs did not have a property interest in
his employment as principal of Oakhaven High School.

To prevail on a claim for a violation of the Due Process
Clause of the Fourteenth.Amendment, a plaintiff must show initially

that he had a constitutionally' protected liberty or property

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interest. Board of Regents v. Roth, 408 U.S. 564, 569-70 (1972).
Property interests protected by the United States Constitution are
created by an independent source, such as state law or private
contract. Id. at 577. Government employment amounts to a protected
property interest when the employee has a legitimate expectation of
continued employment. Curby v. Archon, 216 F.3d 549, 553 (6th Cir.
2000).

Scruggs relies on Sharp v. Lindsey, 285 F.3d 479 (6th Cir.
2002) to establish a property interest in his continued employment
as principal of Oakhaven High School. In Sharp, a high school
principal was reassigned to a position as a math tutor due to
behavior that the superintendent considered problematic. Id. at
484. The reassigned principal brought suit under 42 U.S.C. § 1983
claiming he had a protected property interest in his position as
principal. Id. The court was unable to find a Tennessee statute
that afforded a principal a protected property interest in his or
her job. Id. at 487. Tenn. Code Ann. § 49-5-501 provided that
administrative and supervisory personnel such as principals “shall
have tenure as teachers and not necessarily tenure in the specific
type of position in which they may be employed.” Id. Thus, the
Tennessee legislature did not intend that a principal should have
a statutory entitlement to his principalship. Id. Despite this
holding, the court concluded that the reassigned principal had a

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property interest in his principal position by virtue of a written
employment contract which specified a term of employment as a
principal. Id.

Unlike the principal in Sharp, Scruggs did not have a
principal employment contract that gave him a property interest in
his principal position. Scruggs, however, claims that his property
interest derives from the MEA Agreement. Scruggs alleges that the
MEA Agreement required Memphis City Schools to place him back in
his position as principal of Oakhaven when he returned from sick
leave, and, therefore, Scruggs insists that he had a legitimate
expectation of retaining his position as principal.

Article XIV, Section G, of the MEA agreement, entitled
“Transfer and Assignment," does not give a person in the position
of a principal an expectation of continued employment in that
position. Section G states:

The filling of the positions of principals. assistant

principals, instructional supervisors and mental

health/support professionals including promotion,
demotion, transfer, assignment, layoff and recall shall

not be for arbitrary and capricious reasons; however,

such personnel actions shall be the sole discretion of

the Superintendent and shall not be subject to grievance

or arbitration.

Instead, this provision of the agreement allows the Superintendent,

in his discretion, to assign and/or demote a principal to another

position, so long as his reasons are not arbitrary and capricious.

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Likewise, as set forth by the court in Sharp, Tenn. Code Ann. § 49-
5-510, entitled “Transfers Within System,” does not provide a
legitimate expectation of continued employment for principals.
This section states:

The superintendent, when necessary to the efficient

operation of the school system, may transfer a teacher

fron\one location to another within the school system, or

from one type of work to another for which the teacher is

qualified and licensed.
Tenn. Code Ann. § 49-5-510. “Teacher” is defined by the Tennessee
Code to include principals. Tenn. Code Ann. § 49-5-501(10). Under
this statute, tenure is directly related to the job as a teacher
and not to a particular location or title; therefore, a teacher
and/or principal does not have a legitimate expectation of
continued employment in a particular position which would amount to
a property interest. Coe V. Bogart, 519 F.2d 10, 12-13 (6th Cir.
1975). See also Sharp v. Lindsay, 285 F.3d 479 (6th Cir. 2002).

Scruggs is unable to establish a property interest in his
employment as principal of Oakhaven High School. Consequently,
Scruggs' cannot prevail on his claim for violations of due process.
Accordingly, Memphis City Schools' motion for summary judgment is
granted as to this claim.
IV. Americans with Disabilities Act (Count Four)

Scruggs contends Memphis City Schools discriminated against

him in violation of the ADA because it failed to make a reasonable

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accommodation to address his disability. Memphis City Schools
maintains that summary judgment should. be granted. as to this
contention because Scruggs has failed to allege a disability under
the ADA.

The ADA prohibits a covered employer from discriminating
"against a qualified individual with a disability" because of his
disability. 42 U.S.C. § 12112(a). The term "qualified individual
with a disability" means "an individual with a disability who, with
or without reasonable accommodation, can perform the essential
functions of the employment position that such individual holds or
desires." 42 U.S.C. § 12111(8).

To maintain a prima facie case under the ADA, the plaintiff
must establish: (1) that he has a disability as defined in 42
U.S.C. § 12102(2): (2) that he is qualified to perform the
essential functions of the job, with or without reasonable
accommodations; and (3) that he has suffered an adverse employment
action because of his disability. Benson v. Northwest Airlines,
Inc., 62 F.3d 1108, 1112 (8th Cir. 1995).

Section 12102(2) defines a disability as: (A) a physical or
mental impairment that substantially limits one or more of the
major life activities of such individuals (B) a record of such an
impairment; or (C) being regarded as having such an impairment." 42
U.S.C. § 12102(2). The term “substantially limits” is defined as

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“unable to perform\a major life activity that the average person in
the general population can perform; or significantly restricted as
to the condition, manner or duration under which an individual can
perform a particular major life activity” as compared with the
average person that can perform that same life activity. 29 C.F.R.
§ 1630.2(j)(1). In determining whether an individual is
substantially limited in a lnajor life activity, the court is
directed to consider the "nature and severity of the impairment,"
its "duration or expected duration," and the "permanent or long
term impact, or the expected permanent or long term impact of or
resulting from the impairment." 29 U.S.C. § 1630.2(j)(2).

In this case. Scruggs has failed to establish that he was
suffering from a disability which substantially limited his ability
to work. The Supreme Court has “assumed without deciding that
‘working' is a major life activity for purposes of the ADA. . . .”
Cartwright v. Lockheed Martin [Rdlity Services, Inc., 2002 WL
1461753 (6th Cir. 2002). To be substantially limited in the major
life activity of working, a plaintiff must be unable to perform a
broad class of jobs. Id. Here, Scruggs alleges discrimination
after he returned to work at a point in time when Scruggs was no
longer unable to work. Scruggs has offered no evidence that
creates a genuine issue of material fact as to whether he could not

perform either a class of jobs or a broad range of jobs in various

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classes. Therefore, he has not demonstrated that he was
significantly limited in the life activity of working.

Furthermore, assuming that Scruggs was disabledl his
disability was only temporary as his physician released him to
return to work. The Supreme Court has held that, “an impairment
that is corrected does not substantially limit a major life
activity for purposes of the ADA.” Williams v. Stark County Board
of County Commissioners, 7 Fed. Appx. 441 (6th Cir. 2001). Scruggs
therefore did not suffer from a disability under the ADA as his
impairment was corrected as evidenced by his physician's release to
return to work.

Because Scruggs fails to make a prima facie case under the ADA
and has failed to proffer any evidence which creates a genuine
issue of material fact in regard to whether he was disabled under
the ADA, Memphis City Schools' motion for summary judgment is
granted as to this contention.

V. Age Discrimination in Employment Act (Count Five)

Scruggs claims that by replacing him with a significantly
younger individual, Memphis City Schools discriminated against him
with respect to the terms, conditions, and privileges of employment
because of his age. Memphis City Schools contends that summary
judgment should be granted because Scruggs fails to make out a

prima facie case under the ADEA.

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To establish a claim under the ADEA the plaintiff must first
establish a prima facie case of discrimination by introducing
evidence sufficient to show: (1) plaintiff was a member of the
protected class; (2) plaintiff suffered an adverse employment
action; (3) plaintiff was qualified for the position; (4) plaintiff
was replaced by a younger worker. See Cooley v. Carmike Cinemas,
Inc., 25 F.3d 1325, 1329 (6th Cir. l994). By establishing the
necessary elements of the prima facie case the plaintiff, “in
effect creates a presumption that the employer unlawfully
discriminated against the employee.” Manzer v. Diamond Shamrock
Chemicals, 29 F.3d 1078, 1081 (6th Cir. l994)(quoting Texas
Department of Community Affairs v. Burdine, 450 U.S. 248, 254
(1981)).

Once the plaintiff has made a prima facie case. the burden
shifts to the defendant “to rebut the presumption of discrimination
by producing evidence that the plaintiff was rejected, or someone
else was preferred, for a legitimate nondiscriminatory reason.”
Burdine, 450 U.S. at 254. If the defendant meets this burden of
production, then the burden shifts back to the plaintiff to prove
by a preponderance of the evidence that the reason proffered by the
employer was not its true reason but merely a pretext for
discrimination. Manzer, 25 F.3d at 1329.

Memphis City Schools replaced Scruggs as principal of Oakhaven

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High School with Marion Brewer. The difference in age between
Scruggs and Brewer is less than six years. The Sixth Circuit has
held that “in the absence of direct evidence that the employer
considered age to be significant, an age difference of six years or
less between an employee and a replacement is not significant.”
Grosjean V. First Energy Corp., 349 F.3d 332, 340 (6th Cir. 2003).
Here, Scruggs has presented no direct evidence that Memphis City
Schools considered age in its decision to replace him as principal.
Therefore, Scruggs has failed to make a prima facie case under the
ADEA by failing to show that he was replaced by a significantly
younger person.

In addition, Scruggs has failed to establish that he suffered
from an adverse employment action. Memphis City Schools offered
Scruggs another administrator position within the school system at
the same salary. Instead of accepting the offer, Scruggs chose to
voluntarily retire.

Accordingly, Memphis City Schools’ motion for summary judgment
in regard to Scruggs’ ADEA claim is granted as Scruggs has failed
to make out a prima facie case under the ADEA and has not proffered
any' evidence that indicates that there is a genuine issue of
material fact with the respect to his ADEA claim.

VI. Intentional Infliction of Emotional Distress §Count VI!

Scruggs maintains that the actions of Memphis City Schools in

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replacing him as principal of Oakhaven High Sohool was designed to
inflict emotional distress upon him and that he actually suffered
from emotional distress. Memphis City Schools contends that
Scruggs has failed to make out a prima facie case for intentional
infliction of emotional distress.

To state a claim for intentional infliction of emotional
distress. a plaintiff must establish that (1) the defendant's
conduct was intentional or reckless; (2) the defendant's conduct
was so outrageous that it cannot be tolerated by society; and (3)
the defendant's conduct resulted in serious mental injury to the
plaintiff. Bain v. Well, 936 S.W.2d 618, 622 (Tenn.) Furthermore,
a plaintiff must show that the defendant's conduct was “so
outrageous in character, and so extreme in degree, as to go beyond
all possible bounds of decency and to be regarded as atrocious, and
utterly intolerable in a civilized society." Miller v. Willbanks,
8 S.W.3d 607, 614 (Tenn. 1999).

In this case, Memphis City Schools’ actions in replacing
Scruggs as principal of Oakhaven High Sohool are not of the type
that the court considers to be atrocious or intolerable. Scruggs
offers no evidence that Memphis City Schools’ actions were
intentionally, maliciously or willfully designed to inflict
emotional distress upon him. Furthermore, Scruggs fails to offer

any evidence that he suffered from severe emotional distress

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because of Memphis City Schools’ actions.

hccordingly.r Memphis City Schools’ motion for summary judgment
regarding the clainlof intentional infliction of emotional distress
is granted.

VII. Breach of Contract §Count One)

Scruggs alleges that Memphis City Schools actions in replacing
him as principal of Oakhaven High Sohool were in violation of the
MEA Agreement. In particular, Scruggs contends that Memphis City
Schools’ failure to reassign him to a “comparable position” was in
direct contradiction to the sick leave policies outlined in the
Article XV, Section A of the MEA Agreement and thus constitutes a
breach of contract. Memphis City Schools insists that Scruggs has
misread the MEA Agreement and that the actions taken by it were not
in violation of the terms and conditions of the agreement.

In this motion for summary judgment, there are two sections of
the MEA Agreement at issue. First, Article XIV, Section G, which
covers transfers and assignments, states:

The filling of the positions of principals. assistant

principals, instructional supervisors and mental

health/support professionals including promotion,
demotion, transfer, assignment, layoff and recall shall

not be for arbitrary and capricious reasons; however,

such personnel actions shall be the sole discretion of

the Superintendent and shall not be subject to grievance

or arbitration.

Based on this section, Memphis City Schools did not breach the

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agreement. Superintendent Watson was within his rights to assign
another principal to Oakhaven, so long as his reasons for doing so
were not arbitrary and capricious.

Scruggs contends, however, that Watson's decision was
arbitrary and capricious because it was based on political
motivation. Scruggs has offered statements made during Watson's
deposition which tend to show that Watson had a political
motivation to post the position for principal at East High School
rather than appoint someone. However, Scruggs has offered no
evidence, besides a personal disagreement with Robert Archer
concerning curriculum, to show that his removal as principal by
Superintendent Watson at Oakhaven was based on a political
motivation. Thus, there is no genuine issue of fact as to whether
Memphis City Schools’ decision to transfer Scruggs was arbitrary
and capricious. Instead, Watson, in his discretion, decided to
appoint a full-time permanent principal at Oakhaven because his
fear that the school would suffer if a principal was not appointed
before Scruggs returned. Watson's decision is also supported by
Tenn. Code Ann. § 49-5-510 which states that “when necessary to the
efficient operation of the school system, [the superintendent] may
transfer a teacher from one location to another within the school
system . . . .”

The second section of the MEA Agreement at issue is Article

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XV, Section A (4), which covers leaves of absence. This section

states:

The professional employee on leave under this section

shall return to his/her previously assigned full-time

position. If the previously assigned position does not

exist, the professional employee shall be assigned to a

comparable position. All rights and privileges of this

article are contingent upon the professional employee's

return to the system upon expiration of leave.
Pursuant to this section, Scruggs contends that because he was on
medically-approved sick leave, Memphis City Schools had an
obligation to return him to his position as principal at the time
of his return if the position still existed or to a comparable
position within the school system. Scruggs relies on Tenn. Code
Ann. § 49-5-705 to support his position. This section states:

Upon return of the teacher within the twelve (12) months,

the interim teacher shall relinquish the position, and

the teacher shall return to the position. If the leave

exceeds twelve (12) months, the teacher shall be placed

in the same or a comparable position upon return from

leave.

Tenn. Code Ann. § 49-5-705.

At the time Scruggs was released to return to work by his
physician, the principal position at Oakhaven no longer existed.
The court interprets Article XV, Section 4 to allow a person who
has been on approved sick leave to return to their previous

position. only' if it is still available, that is, if it still

exists. In this case. Superintendent Watson had appointed Marion

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Brewer as the full-time permanent principal at Oakhaven before
Scruggs was allowed to return to work. Section 49-5-705 of the
Tennessee Code is no help to Scruggs' position either as it
requires only that an interim teacher relinquish the position upon
the return of a teacher and/or principal. In this case, Marion
Brewer was appointed as a full-time permanent principal rather than
an interim principal.

Given that the court has opined that the position at Oakhaven
no longer existed, the only thing left to determine is whether
Memphis City Schools violated the MEA agreement by failing to offer
Scruggs a comparable position. Scruggs contends that there is a
general issue of material fact as to whether Memphis City Schools
offered him a comparable position. According to Scruggs, at a
minimum, a comparable position to the one he previously held as
principal of Oakhaven was another principalship.

Unfortunately, the term “comparable position” is left
undefined by the MEA Agreement. The court is thus left with the
task of interpreting the meaning of this ambiguous term. To
resolve this ambiguity, the court looks outside the agreement to
the Tennessee Teachers' Tenure Act, Tenn. Code Ann. § 49-5-501 et.
seq., from which Scruggs heavily relies in support of his
arguments. Section 49-5-501(10) states:

“Teacher" includes teachers, supervisors, principals,

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superintendents, and all other certificated personnel
employed by any local board of education, for service to
the public, elementary and secondary schools in
Tennessee, supported in whole or in part by state and
federal funds.

Tenn. Code Ann. § 49-5-501(10). Under this section, it is clear
that the Tennessee legislature intended that a principal position
be comparable to that of a teacher. White v. Banks, 614 S.W.2d
331, 334 (Tenn. 1981). In interpreting the Teachers’ Tenure Act,
the Supreme Court of Tennessee stated that:

The legislative intent expressed in these provisions is

that the dismissal or transfer of supervisors and

administrators should be treated under the Act in the

same manner as dismissals or transfers of teachers. For
example, the firing of a principal is to be viewed just

as the firing of a teacher . . . . [a]nd a shift from
principal to teacher or vice versa . . . is to viewed
just as a transfer of a teacher from one type of work to
another.

Id. (emphasis added). Based on the language of the statute and the
Tennessee Supreme Court's interpretation, the court finds as a
matter of law that a transfer from a principal position to a
teacher position is an assignment to a comparable position.

Thus, Scruggs' contention that a principalship was the only
comparable position to the one he previously held fails.
Consequently, this finding by the court makes Scruggs’ proffered
question of fact regarding whether there was a principal position
open at East High Sohool moot. The undisputed facts show that

Memphis City Schools offered Scruggs the “comparable positions” of

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an assistant principal at Central High Sohool and a teaching
position at White Station High School. Scruggs refused to accept
either position.

Accordingly, Scruggs has failed to demonstrate that there are
genuine issues of material fact regarding his breach of contract
claim. Thus, Memphis City Schools in entitled to summary judgment
on this issue.

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For the reasons stated above, this court finds that Scruggs
has failed to show that there are genuine issues of material fact
at issue in this case. The evidence presented by Scruggs indicates
that he is unable to make a prima facie case for his claims under
the ADA, ADEA, and 42 U.S.C § 1983 and for claims of retaliatory
discharge and intentional infliction of emotional distress. As a
matter of law, Scruggs' claim for breach of contract fails as he
has not raised any issues of fact that demonstrate that the case
should be submitted to a jury. Accordingly, Memphis City Schools
is entitled to a judgment as a matter of law.

IT IS SO ORDERED this 16th day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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UNITED TATs DlsTRIC COURT - WETERsN DIsTRTIC

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US DISTRICT COURT

